 

Case 3:16-cr-OO412-I\!1N |PH§MQEB?§|TA|§M§H&@,§CNHQF 1 of 1 Page|D 385

FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA §
v. § CASE NO.: 3:l6-CR-OO4lZ-M
JIMMY LUIS BRISENO (l) §

ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent

of the defendant, and the Report and Recommendation Conceming Plea of Guilty of the United States Magistrate Judge,
and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(l), the
undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and
JIMMY LUIS BRISENO (l) is hereby adjudged guilty of 18 U.S.C. § 371 Conspiracy to Defraud the United States.
Sentence will be imposed in accordance with the Court's scheduling order.

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SIGNED w day of April, 2018.

The defendant is ordered to remain in custody.

The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the

defendant is not likely to flee or pose a danger to any other person or the community if released and should therefore
be released under § 3 l42(b) or (c).

Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions
of release for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a
danger to any other person or the community if released under § 3 l42(b) or (c).

The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the
United States Marshal no later than .

 

The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds

l:l There is a substantial likelihood that a motion for acquittal or new trial will be granted, or

[l The Government has recommended that no sentence of imprisonment be imposed, and

l:| This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of

release for determination, by clear and convincing evidence, of` whether the defendant is likely to flee or
pose a danger to any other person or the community if released under § 3142(b) or (c).

The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed a motion
alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained under §
3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge who set the conditions
of release for determination of whether it has been clearly shown that there are exceptional circumstances under §
3145(0) why the defendant should not be detained under § 3143(a)(2), and whether it has been shown by clear and
convincing evidence that the defendant is likely to flee or pose a danger to any other person or the community if
released under § 3142(b) or (c).

 

 

